          Case 2:05-cr-00542-GEB Document 230 Filed 02/01/11 Page 1 of 3


 1   I. MARK BLEDSTEIN, ESQ., SBN: 47482
     15915 Ventura Blvd., Suite 203
 2   Encino, California 91436
     Tel: (818)995-0801
 3   Fax: (818)981-6098
     E-mail: imblaw@pacbell.net
 4
 5   Attorney for Defendant
     MICHELLE CHAU NGOC LE
 6
 7
                            UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11
     UNITED STATES OF AMERICA,                 ) Case No.: 2:05-CR-542-GEB
12                                             )
                             Plaintiff,        )
13
                                               ) STIPULATION TO CONTINUE
14   v.                                        ) SENTENCING DATE
                                               )
15   MICHELLE CHAU NGOC LE,                    )
                                               )
16
                             Defendant,        )
17                                             )
     __________________________________________)
18
19
20          Plaintiff UNITED STATES OF AMERICA, by and through its counsel of record,

21   Assistant United States Attorney Matthew Stegman and Defendant MICHELLE CHAU NGOC
22
     LE, by and through her attorney, I. Mark Bledstein, hereby stipulate as follows:
23
            Defendant MICHELLE CHAU NGOC LE is currently set for sentencing on February
24
     4, 2011. By this stipulation, defense moves to continue the sentencing date from February 4,
25
     2011 at 9:00 A.M. to April 8, 2011 at 9:00 A.M.
26
     //
27
     //
28



                                                  - 1 -
         Case 2:05-cr-00542-GEB Document 230 Filed 02/01/11 Page 2 of 3


 1          Counsel for defendant MICHELLE CHAU NGOC LE requests additional time to set
 2   up safety valve meeting and time to prepare and file sentencing papers after the safety-valve
 3   proffer is conducted.
 4          Further, Counsel is engaged in trial starting Monday, January 24, 2011 in the matter of
 5   People v. Andres Frias, Case No. BA357016.
 6          Based on the above, defense stipulate and request to continue sentencing date from
 7   February 4, 2011 to April 8, 2011 at 9:00 A.M.
 8          IT IS SO STIPULATED.
 9
10
11
12   Dated: January 31, 2011
                                                  Respectfully submitted,
13
14
                                                  /s/ I. Mark Bledstein
15                                                __________________________________
                                                  I. MARK BLEDSTEIN
16
                                                  Attorney for Defendant
17                                                MICHELLE CHAU NGOC LE

18
19   Dated: January 31, 2011                      MCGREGOR W. SCOTT
20                                                United States Attorney

21
                                                  /s/ I. Mark Bledstein for
22                                                __________________________________
23                                                MATTHEW C. STEGMAN
                                                  Assistant United States Attorney
24                                                Attorney’s for Plaintiff
                                                  United States of America
25
26
27
28



                                                  - 2 -
                           Case 2:05-cr-00542-GEB Document 230 Filed 02/01/11 Page 3 of 3


 1                                                       ORDER
 2
 3   IT IS SO ORDERED:
 4   Date: 1/31/2011
 5
 6                                                                _________________________
                                                                  GARLAND E. BURRELL, JR.
 7                                                                United States District Judge
 8
     DEAC_Signature-END:




 9
10
11   61khh4bb

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                          - 3 -
